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                    UNITED STATES DISTRICT COURT
                                  District of Kansas
                                    (Topeka Docket)


UNITED STATES OF AMERICA,

                            Plaintiff,

              v.                                   CASE NO. 21-40029-HLT

WYATT TRAVNICHEK,

                            Defendant.




                                  INDICTMENT

       THE GRAND JURY CHARGES:

At all material times:

       1.     The Safe Drinking Water Act (SDWA) was passed in 1974 to establish

uniform quality standards for the hundreds of thousands of public water systems in the

United States to reduce contamination in drinking water. In doing so, Congress made

certain findings:

              a)     Safe water is essential to the protection of public health;

              b)     Because the requirements of the SDWA now exceed the financial

and technical capacity of some public water systems, especially many small public water

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systems, the Federal Government needs to provide assistance to communities to help the

communities meet Federal drinking water requirements;

                c)    The Federal Government commits to maintaining and improving its

partnership with the States in the administration and implementation of the SDWA;

                d)    States play a central role in the implementation of safe drinking

water programs, and States need increased financial resources and appropriate flexibility

to ensure the prompt and effective development and implementation of drinking water

programs; and

                e)    More effective protection of public health requires prevention of

drinking water contamination through well-trained system operators, water systems with

adequate managerial, technical, and financial capacity, and enhanced protection of source

waters of public water systems.

       2.       A public water system is “a system for the provision to the public of water

for human consumption through pipes or other constructed conveyances, if such system

had at least fifteen (15) service connections or regularly served at least twenty-five (25)

individuals.”

       3.       A “Supplier of water,” is “any person who owns or operates a public water

system.”

       4.       Congress authorized the Environmental Protection Agency (EPA) to

establish primary and secondary drinking water regulations for public water systems for

more than one hundred contaminants that may adversely affect public health.



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       5.      Suppliers of water in the United States are under a duty to provide

customers with drinking water that meets federal quality standards established under the

provisions of the SDWA.

       6.      Ellsworth County Rural Water District No. 1, also known as Post Rock

Rural Water District (“Post Rock”), was located in Ellsworth County, Kansas, and served

as a public water system, which served over 1,500 retail customers and 10 wholesale

customers over eight Kansas counties. Post Rock’s processes included cleaning and

disinfecting customers’ drinking water.

       7.      The defendant, Wyatt Travnichek, was employed by Post Rock from

approximately January 2018, until his resignation in January 2019. As part of his job

responsibilities, the defendant was periodically tasked with remotely logging into the Post

Rock computer system to monitor the plant after hours.

       8.      To “tamper” means, inter alia, to interfere with the operation of the public

water system with the intention of harming persons.

       9.      The term “person” means an individual, corporation, company, association,

partnership, State, municipality, or Federal agency (and includes officers, employees, and

agents of any corporation, company, association, State, municipality, or Federal agency).

       10.     On March 27, 2019, Post Rock experienced an unauthorized remote

intrusion resulting in the shut-down of the facility’s processes.




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                                        COUNT 1

             TAMPERING WITH A PUBLIC WATER SYSTEM - 42 U.S.C. § 300i-1(a)

       11.     Paragraphs 1 through 10 are incorporated by reference as though fully

restated.

       12.     On or about March 27, 2019, in the District of Kansas, the defendant,

                                WYATT TRAVNICHEK,

knowingly tampered with a public drinking water system, namely the Ellsworth County

Rural Water District No. 1, to wit: he logged in remotely to Post Rock Rural Water

District’s computer system and performed activities that shut down processes at the

facility which affect the facility’s cleaning and disinfecting procedures with the intention

of harming the Ellsworth County Rural Water District No. 1, a person as defined under

the Safe Drinking Water Act statute.

       This was in violation of Title 42, United States Code, Section 300i-1(a), and Title

18, United States Code, Section 2.

                                        COUNT 2

RECKLESS DAMAGE TO A PROTECTED COMPUTER DURING UNAUTHORIZED ACCESS
                        – 18 U.S.C. § 1030(a)(5)(B)

       13.     Paragraphs 1 through 12 are incorporated by reference as though fully

restated.

       14.     On or about March 27, 2019, in the District of Kansas, the defendant,

                                WYATT TRAVNICHEK,




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intentionally accessed a protected computer without authorization, and as a result of such

conduct, recklessly caused damage to Ellsworth County Rural Water District No. 1, also

known as Post Rock Rural Water District, that is shutting down the Post Rock facilities,

and the offense caused or would, if completed, have caused:

       (a)      a threat to public health and safety; and

       (b)      loss to a person during a one-year period from the defendant’s course of

conduct affecting a protected computer aggregating at least $5,000 in value.

       This was in violation of Title 18 United States Code, Sections 1030(a)(5)(B),

1030(c)(4)(A), and 2.

                                  FORFEITURE NOTICE

       15.      The allegations contained in paragraphs 1-14, above of this Indictment are

       hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

Title 18, United States Code § 1030(i).

       16.      Upon conviction of the offense set forth in Count 2 of this Indictment, the

defendant, shall forfeit to the United States pursuant to Title 18, United States Code,

Section 1030(i), all personal property used or intended to be used to commit or to

facilitate the commission of said offense including, but not limited, to the following:

                A.     A Samsung telephone with black case, Model# SMG930Z, IMEI

                       357754075221045, serial# R38H50E3WTR.




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                                    A TRUE BILL.


March 31, 2021                      s/Foreperson                x
DATE                                FOREPERSON OF THE GRAND JURY




DUSTON J. SLINKARD
ACTING UNITED STATES ATTORNEY

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       IT IS REQUESTED THAT THE TRIAL BE HELD IN TOPEKA, KANSAS




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                                  PENALTIES


Count 1:     42 U.S.C. § 300i–1(a) [Tampering with a Public Water System]

   • Punishable by a term of imprisonment of not more than twenty (20) years.
     42 U.S.C. § 300i-1(a).

   • A term of supervised release of at not more than three (3) years. 18 U.S.C.
     § 3583(b)(2).

   • A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

   • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

Count 2:     18 U.S.C. § 1030(a)(5)(B) and (c)(4)(A)
             [Reckless Damage to a Protected Computer During Unauthorized
             Access]

   • Punishable by a term of imprisonment of not more than five (5) years. 18
     U.S.C. § 1030(a)(5)(B) and (c)(4)(A).

   • A term of supervised release of not more than one (1) year. 18 U.S.C. §
     3583(b)(3).

   • A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

   • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).




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